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     Facsimile: 559.233.6044
 4
 5   Attorney for Defendant, NORMAN MOLYNEUX
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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                       )      CASE NUMBER: 1:04-CR-05244-OWW
                                                     )
11                          Plaintiff,               )
                                                     )      APPLICATION FOR SEALING
12   v.                                              )      DECLARATION OF SALVATORE
                                                     )      SCIANDRA IN SUPPORT OF MOTION
13                                                   )      TO APPOINT NEW COUNSEL; ORDER
                                                     )
14   NORMAN MOLYNEUX,                                )
                                                     )      DATE:  Monday, June 12, 2006
15                                                   )      TIME:  1:30 p.m.
                            Defendants.              )      COURT: Honorable Oliver W. Wanger
16                                                   )
17           COMES NOW defendant herein, NORMAN MOLYNEUX, who applies hereby for an order
18   permitting him to file under seal the declaration of SALVATORE SCIANDRA in support of his
19   motion for this court to appoint new counsel.
20           Although the notice of motion will be served on the Assistant United States Attorney Stanley
21   Boone, defendant MOLYNEUX seeks to avoid filing the declaration of SALVATORE SCIANDRA
22   because it contains confidential privileged information, including information privileged pursuant to
23   the attorney-client relationship.
24   ///
25   ///
26   ///
27   ///
28   ///
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 1          Therefore, defendant MOLYNEUX respectfully requests that this Court order the within
 2   declaration of SALVATORE SCIANDRA to be scanned by the Clerks Office into the sealed section
 3   of the ECF, and the original returned to counsel.
 4                                                                Respectfully submitted,
 5
 6   DATED: June 6, 2006                                          /s/ Salvatore Sciandra
                                                                  SALVATORE SCIANDRA
 7                                                                Attorney for Defendant,
                                                                  NORMAN MOLYNEUX
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 9
10                                           SEALING ORDER
11              Having reviewed defendant MOLYNEUX’s motion to file declaration of SALVATORE
12   SCIANDRA, and good cause appearing therefor,
13          IT IS HEREBY ORDERED that the declaration of SALVATORE SCIANDRA in support
14   of defendant MOLYNEUX’s motion for appointment of new counsel be filed under seal, and that the
15   documents be scanned by the Clerk’ s Office into the sealed section of ECF, and the original be
16   returned to counsel.
17   IT IS SO ORDERED.
18   Dated: June 8, 2006                               /s/ Oliver W. Wanger
     emm0d6                                       UNITED STATES DISTRICT JUDGE
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     U.S. v. NORMAN MOLYNEUX
     APPLICATION FOR SEALING DECLARATION OF SALVATORE SCIANDRA IN SUPPORT OF MOTION TO APPOINT NEW COUNSEL;
     [PROPOSED] ORDER
     CASE NO.: 1:04-CR-05244-OWW                                                                          2
